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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors.1                          (Jointly Administered)

                                                                      Related to Docket No. 148

                                                Hearing Date: September 7, 2023 at 11:00 a.m. (ET)
                                                               Objections Due: September 1, 2023

         AMENDED NOTICE OF HEARING2 ON DEBTORS’ MOTION TO ASSUME
              AND/OR ENTER INTO REIMBURSEMENT AGREEMENTS
           WITH PROFESSIONALS FOR THE AD HOC NOTEHOLDER GROUP

         PLEASE TAKE NOTICE that on August 25, 2023, the above-captioned debtors

(collectively, the “Debtors”), filed the Debtors’ Emergency Motion to Assume and/or Enter Into

Reimbursement Agreements With Professionals for the Ad Hoc Noteholder Group [Docket No.

148] (the “Bondholder Fee Motion”) and Motion to Shorten Notice and Schedule Expedited

Hearing on Debtors’ Emergency Motion to Assume and/or Enter Into Reimbursement Agreements

With Professionals for the Ad Hoc Noteholder Group [Docket No. 149] (the “Motion to Shorten”)

with the United States Bankruptcy Court for the District of Delaware, 824 North Market Street,

3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy Court”). On August 25, 2023 the

Bankruptcy Court signed an Order Granting Motion to Shorten Notice and Schedule Expedited

Hearing on Debtors’ Emergency Motion to Assume and/or Enter Into Reimbursement Agreements



1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.
2
    Any party who wishes to attend the video conference is required to register at the following link:
    https://debuscourts.zoomgov.com/meeting/register/vJItduyprjwpHEX2JYOrO10uHqvMolya1rM


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With Professionals for the Ad Hoc Noteholder Group [Docket No. 151] (the “Order to Shorten’).

A copy of the Bondholder Fee Motion, Motion to Shorten and Order to Shorten were previously

served upon you. The hearing on the Bondholder Fee Motion was subsequently adjourned to

September 7, 2023 at 11:00 A.M. Prevailing Eastern Time.

        PLEASE TAKE FURTHER NOTICE that any response or objection to the entry of an

order with respect to the relief sought in the Motion must be filed on September 1, 2023.

        PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER THE

RELIEF SOUGHT IN THE MOTION WILL BE HELD ON SEPTEMBER 7, 2023 AT 11:00

A.M. (EASTERN TIME) BEFORE THE HONORABLE THOMAS M. HORAN, UNITED

STATES BANKRUPTCY COURT JUDGE VIA ZOOM AT THE LINK PROVIDED ABOVE.

        PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE FINAL RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

 Dated: September 1, 2023                       PACHULSKI STANG ZIEHL & JONES LLP

                                                /s/ James E. O’Neill
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                                                Debra I. Grassgreen (admitted pro hac vice)
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                                                Proposed Counsel to the Debtors and
                                                Debtors-in-Possession



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